                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                       CEDAR RAPIDS DIVISION
 PARENTS DEFENDING
 EDUCATION,
                     Plaintiff,
 v.
                                                  Case No. ____________
 LINN-MAR COMMUNITY SCHOOL
 DISTRICT; SHANNON BISGARD, in
 his official capacity as Superintendent of
 Linn-Mar Community School District;
 BRITTANIA MOREY, CLARK
 WEAVER, BARRY BUCHOLZ,
 SONDRA NELSON, MATT
 ROLLINGER, MELISSA WALKER,
 and RACHEL WALL, in their official
 capacities as members of the Linn Marr
 Community School District School
 Board,
                     Defendants.


                         DECLARATION OF PARENT B

      1.     I live within the boundaries of the Linn-Mar Community School District

(“Linn-Mar”) and am the parent of a school-aged child.

      2.     I am over the age of eighteen and under no mental disability or

impairment. I have personal knowledge of the following facts and, if called as a witness,

would competently testify to them.

      3.     I am a member of Parents Defending Education.

      4.     My daughter is enrolled at Linn-Mar High School and has special needs.



                                              1
       5.     As a parent, I am keenly aware of research showing that adolescents with

special needs are more likely to assert a transgender or “non-binary” identity than

neurotypical adolescents. I also know that adolescent females comprise a

disproportionate percentage of school-aged children who assert transgender or “non-

binary” identities.

       6.     Some of my daughter’s special-needs classes are held in a classroom that

also functions as the meeting location for the LGBT student club. The teacher in that

classroom is the faculty advisor for the club. Thus, the classroom walls contain several

posters with information about various gender identities, gender “social transitions,”

and “preferred pronouns.” My daughter is extremely impressionable and often follows

the lead of other students.

       7.     I am deeply concerned that my daughter will say or do something that will

be interpreted as an assertion of a gender identity by Linn-Mar officials who do not

know her as well as I do. I believe there is a substantial risk that my child will receive a

Gender Support Plan or other gender-specific treatment without my knowledge or

consent.

       8.     I want to ask the District on a regular basis whether my child has requested

or been given a Gender Support Plan, whether my child has made requests or actions

have been taken concerning my child’s gender identity, and whether the District has

any other information that would reveal my child’s “transgender status.” I want to

receive this information without seeking “permission” from my child. Policy 504.13-R,

                                             2
however, prohibits school officials from revealing any of this information to me without

my child’s permission.

       9.     I also want to exercise my fundamental right as a parent to guide my child’s

upbringing and to help my child navigate any issues that might arise regarding her

perception of her gender identity. Under the Policy, however, I know that when these

issues arise, my role will be displaced by Linn-Mar administrators. The Policy requires

school officials to immediately accept and validate a child’s expression of gender

identity—regardless of their age or development—without questioning how the child

arrived at that conclusion.

       10.    Moreover, my daughter’s social development is far below those of

neurotypical children of the same age, so it is unlikely that she will be able to understand

the scope of this issue or effectively communicate her true preferences. Thus, if my

daughter is assigned a Gender Support Plan or if Linn-Mar officials take other steps to

“affirm” that she is transgender or “non-binary,” I am highly unlikely to learn about

those actions.

       11.    Even in the absence of a formal Gender Support Plan, my daughter is still

likely to be harmed by the Policy. For example, if my daughter decides to adopt

“preferred pronouns” or a “preferred” name based on suggestions from peers or

teachers (whether implicit or explicit), Linn-Mar will honor my daughter’s decision over

my own—even though my daughter will not understand the implications of that

decision.

                                             3
       12.    I have repeatedly expressed my concerns with this policy, but Linn-Mar

officials have refused to confirm that they will inform me about any gender-related

issues that pertain to my daughter or that they will defer to my wishes as a parent. I am

personally aware of several other parents of children with special needs who have

expressed similar concerns.

       13.    After the Policy was enacted on April 25, I attempted to enroll my child

in a neighboring school district, but my application was denied because the district’s

special-needs programs were already at capacity. Because my child requires specialized

instruction, enrolling her in private school is not an option.

       14.    I am signing this declaration under a pseudonym because I live in Linn-

Mar and, if my participation in this litigation becomes public, I fear reprisal from school

officials, my child’s teachers and fellow students, and members of the broader

community. I also want to protect the identity and privacy of my child concerning these

deeply sensitive issues.




                                            4
